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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


KOSS CORPORATION,                                 §
           Plaintiff,                             §
                                                  §
v.                                                §                6-20-CV-00665-ADA
                                                  §
APPLE INC.,                                       §
                   Defendant.                     §
                                                  §

                              CLAIM CONSTRUCTION ORDER

       The Court provided its preliminary constructions on April 22, 2021. The Court held a

claim construction hearing on April 23, 2021, during which the Court heard argument on the

claim terms: “a remote, network-connected server that is in wireless communication with the

mobile, digital audio player” (’025 Patent – claim 1) (’934 Patent – claims 1 and 58); “in a

second audio play mode, the earphones play audio content streamed from the remote, network-

connected server” (’025 Patent – claims 2, 12, 21, 30, and 42) (’934 Patent – claims 2, 15, 24,

36, and 59) (ʼ982 Patent – claim 3); “upon activation of the microphone by the user, data are

transmitted about the headphone assembly to a remote device” (’025 Patent – claims 8, 18, 27,

36, and 48) (’934 Patent – claims 7, 21, 30, 45, and 61); “host servers” (’451 Patent – claims 1

and 18); “a passive, wireless rechargeable power source” (’982 Patent – claim 17) (’325 Patent –

claims 8 and 17). ECF No. 77.

       After careful consideration of the parties’ briefs, oral argument, and the applicable law,

the Court enters its final constructions for each term as shown below.

                  Claim Term                                             Court
“a remote, network-connected server that is in    Plain and ordinary meaning
wireless communication with the mobile, digital
audio player”
(’025 Patent – claim 1)
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(’934 Patent – claims 1 and 58)
“the processor is for, upon activation of a user-        Plain and ordinary meaning
control of the headphone assembly, initiating
transmission of a request to the remote, network-
connected server”

(’025 Patent – claim 1)
(’934 Patent – claims 1 and 58)
(ʼ982 Patent – claim 4)
(ʼ325 Patent – claim 3)
“in a second audio play mode, the earphones play         Plain and ordinary meaning
audio content streamed from the remote, network-
connected server”
(’025 Patent – claims 2, 12, 21, 30, and 42)
(’934 Patent – claims 2, 15, 24, 36, and 59)
(ʼ982 Patent – claim 3)
“a signal strength [level] for the second wireless       Plain and ordinary meaning
communication link”
(’025 Patent – claims 4, 5, 7, 9, 14, 15, 17, 19, 23,
24, 26, 28, 32, 33, 35, 37, 44, 45, 47, 49, and 50)
(’934 Patent – claims 4, 6, 8, 12, 13, 17, 18, 20, 22,
26, 27, 29, 31, 38, 40, 41, 44, and 58)
(’982 Patent – claims 6 and 11)
(’325 Patent – claims 5 and 11)
“upon activation of the microphone by the user,          Plain and ordinary meaning
data are transmitted about the headphone assembly
to a remote device”
(’025 Patent – claims 8, 18, 27, 36, and 48)
(’934 Patent – claims 7, 21, 30, 45, and 61)
“the processor circuits of the headphones are            Plain and ordinary meaning
configured to receive firmware upgrades
transmitted from a remote network server”
(’155 Patent – claim 13)
(’934 Patent – claims 1, 9, 46, 62)
(’325 Patent – claim 9)
“host servers”                                           Plain and ordinary meaning
(’451 Patent – claims 1 and 18)
“a passive, wireless rechargeable power source”          Plain and ordinary meaning
(’982 Patent – claim 17)
(’325 Patent – claims 8 and 17)
IT IS SO ORDERED.

SIGNED this 2nd day of June, 2021.



                                           ALAN D ALBRIGHT
                                           UNITED STATES DISTRICT JUDG
